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                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                  Case No. 1:11-cr-00348
                                    )
v.                                  )                  Honorable Janet T. Neff
                                    )
GALACION CANO RIOS, JR.,            )
                                    )
            Defendant.              )
____________________________________)


                             REPORT AND RECOMMENDATION

               Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on April 3, 2012, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Galacion Cano Rios, Jr. entered a plea of guilty to Count One of the Superseding

Indictment in exchange for the undertakings made by the government in the written plea agreement.

In Count One of the Superseding Indictment, defendant is charged with conspiracy to possess with

intent to distribute 5 kg or more of cocaine and an unspecified amount of marijuana in violation of

21 U.S.C. § 846, 841(a) (1), 841(b) (1) (A) (ii) and 841 (b) (1) (D).. On the basis of the record made

at the hearing, I find that defendant is fully capable and competent to enter an informed plea; that

the plea is made knowingly and with full understanding of each of the rights waived by defendant;

that it is made voluntarily and free from any force, threats, or promises, apart from the promises in

the plea agreement; that the defendant understands the nature of the charge and penalties provided

by law; and that the plea has a sufficient basis in fact.
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               I therefore recommend that defendant's plea of guilty to Count One of the

Superseding Indictment be accepted, that the court adjudicate defendant guilty, and that the written

plea agreement be considered for acceptance at the time of sentencing. Acceptance of the plea,

adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are specifically

reserved for the district judge.



Date: April 3, 2012                                    /s/ Ellen S. Carmody
                                                      ELLEN S. CARMODY
                                                      United States Magistrate Judge



                                     NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than14 days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




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